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                U.S. District Court for the Northern District Of Illinois
                              Attorney Appearance Form


Case Title: U.S. Securities and Exchange    Case Number: 1-18-cv-5587
            Commission v. Equitybuild, Inc,
        et al.
An appearance is hereby filed by the undersigned as attorney for:

Federal Home Loan Mortgage Corporation

Wilmington Trust, National Association, as Trustee for the Registered Holders of Wells
Fargo Commercial Mortgage Trust 2014-LC16, Commercial Mortgage Pass-Through
Certificates, Series 2014-LC16

Citibank N.A., as Trustee for the Registered Holders of Wells Fargo Commercial
Mortgage Securities, Inc., Multifamily Mortgage Pass-Through Certificates, Series 2018-
SB48

Federal National Mortgage Association

U.S. Bank National Association, as Trustee for the registered Holders of J.P. Morgan
Chase Commercial Mortgage Securities Corp., Multifamily Mortgage Pass-Through
Certificates, Series 2017-SB41

U.S. Bank National Association, as Trustee for the registered Holders of J.P. Morgan
Chase Commercial Mortgage Securities Corp., Multifamily Mortgage Pass-Through
Certificates, Series 2018-SB50

U.S. Bank National Association, as Trustee for the registered Holders of J.P. Morgan
Chase Commercial Mortgage Securities Corp., Multifamily Mortgage Pass-Through
Certificates, Series 2017-SB30

Sabal TL1 LLC

Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington Trust,
N.A., as Trustee for the Benefit of Corevest American Finance 2017-1 Trust Mortgage
Pass-Through Certificates

Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington Trust,
N.A., as Trustee for the Registered Holders of Corevest American Finance 2017-2
Trust, Mortgage Pass-Through Certificates, Series 2017-2

BC57, LLC

UBS AG

1111 Crest Drive Dr., LLC
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Pakravan Living Trust

Hamid Ismail

Farsaa, Inc.

Thorofare Asset Based Lending REIT Fund IV, LLC

Direct Lending Partner LLC

Attorney name (type or print): Todd Gale

Firm:     Dykema Gossett PLLC

Street address:         10 South Wacker Drive, Suite 2300

City/State/Zip:     Chicago, IL 60606

Bar ID Number: 6229288                                 Telephone Number:           (312) 627-2173
(See item 3 in instructions)

Email Address: tgale@dykema.com

Are you acting as lead counsel in this case?                                     Yes           No

Are you acting as local counsel in this case?                                    Yes           No

Are you a member of the court’s trial bar?                                       Yes           No

If this case reaches trial, will you act as the trial attorney?                  Yes           No

If this is a criminal case, check your status.                    Retained Counsel
                                                                  Appointed Counsel
                                                                  If appointed counsel, are you a
                                                                      Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on July 30, 2021

Attorney signature:        S/ Todd Gale
                           (Use electronic signature if the appearance form is filed electronically.)
                                                                                           Revised 8/1/2015
